UNITED STATES OF AMERICA                               )    Case No. 3:16-CR-105
                                                        )
       v.                                               )   Judge Trauger
                                                        )
THEODORE NUGENT                                         )


                                            ORDER]


       WHEREAS, on or about October 8, 2019, Defendant Theodore Nugent and the United States

executed an Agreement for Pretrial Diversion (“Agreement”) deferring the prosecution of Defendant for

12 months, while Defendant completed a diversion program administered by the United States Probation

and Pretrial Services (“Pretrial Services”); and

       WHEREAS, the United States agrees to cease prosecution of the above-captioned case because

Pretrial Services reports Defendant on October 7, 2020 successfully completed the conditions of the

Agreement without incident.

       Based on the above and the entire record in this matter, it is hereby ORDERED that the indictment

in this case is dismissed with prejudice.


______________________
 10/19/2020
Date

                                                                      __________________
                                                                      Hon. Aleta A. Trauger United States
                                                                      District Judge Middle District of
                                                                      Tennessee




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